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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

 IN RE: ETHICON, INC. PELVIC
 REPAIR SYSTEM PRODUCTS                                            MDL 2327
 LIABILITY LITIGATION
                                                            JOSEPH R. GOODWIN
 THIS DOCUMENT RELATES TO                                   U.S. DISTRICT JUDGE
 ALL CASES




               MOTION FOR CHANGE OF ATTORNEY INFORMATION

       PLEASE TAKE NOTICE that the undersigned counsel respectfully moves this Court for

entry of an Order updating the firm contact information in MDL Nos. 2327, 2187, 2325, 2326,

2387, and 2440, and each individual case in which attorneys Joseph J. Zonies and Gregory D.

Bentley are associated. In support of the Motion, the undersigned states as follows:

       The firm’s updated information, including name and addresses, is as follows:

               Zonies Law LLC
               1900 Wazee Street, Suite 203
               Denver, CO 80202
               720-464-5300
               Fax: 720-961-9252
               jzonies@zonieslaw.com
               gbentley@zonieslaw.com

       Accordingly, Plaintiffs respectfully request the Court enter an Order updating the firm

contact information in MDL Nos. 2327, 2187, 2325, 2326, 2387, and 2440, and each individual

case in which attorneys Joseph J. Zonies and Gregory D. Bentley are associated.




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Dated: June 22, 2016              Respectfully submitted,


                                  /s/ Joseph J. Zonies
                                  Joseph J. Zonies, Esq.
                                  Gregory D. Bentley, Esq.
                                  1900 Wazee Street, Suite 203
                                  Denver, CO 80202
                                  720-464-5300
                                  Fax: 720-961-9252
                                  jzonies@zonieslaw.com
                                  gbentley@zonieslaw.com




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                            CERTIFICATE OF SERVICE

I hereby certify that I filed the foregoing MOTION FOR CHANGE OF ATTORNEY
INFORMATION on June 22, 2016, using the Court’s CM/ECF filing system, thereby sending
notice of said filing to all counsel.



                                               /s/ Jenelle Cox
                                              Jenelle Cox




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